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IN THE UNITED STATES DISTRICT COURT Hype! cue
FOR THE DISTRICT OF MARYLAND a He
(Baltimore Division) 7

 

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BREZA & ASSOCIATES, LLC U y
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Plaintiff,
Vv. Civil No. 1:19-cv-03468-ELH

TESLA MOTORS, INC.

Defendant.

 

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
Plaintiff, Breza & Associates, LLC (“Breza’), and Defendant Tesla Motors, Inc.
(“Tesla”) (collectively, “Parties”), by and through their undersigned counsel of record, pursuant
to Fed. R. Civ. P. 41(a)(1)(A)ii, jointly hereby agree to a dismissal of the above-captioned
matter, including any and all claims and counter-claims, whether pled, WITH PREJUDICE.

Date: July 13, 2020 Respectfully submitted,

/s/

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